                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:05CR23-6


UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )               ORDER
                                                      )
JASON DANIEL HARWOOD,                                 )
                                                      )
                  Defendant.                          )
________________________________________              )


        THIS CAUSE coming on to be heard and being heard before the undersigned, Dennis L.

Howell, United States Magistrate Judge for the Western District of North Carolina, upon a violation

report filed in the above entitled cause on May 19, 2005 by the United States Probation Office. In

the violation report the United States Probation Office alleged that the defendant had violated terms

and conditions of his pretrial release. At the call of this matter on for hearing it appeared that the

defendant was present with his counsel, attorney David Belser, and that the Government was present

through Assistant United States Attorney, Richard Edwards, and from the evidence offered and from

the statements of the Assistant United States Attorney and the attorney for the defendant, and the

records in this cause, the court makes the following findings.

        Findings: At the call of the matter, the defendant, by and through his attorney, admitted the

allegations contained in the violation report that had been filed on May 19, 2005. The Government

introduced, without objection, the violation report into evidence. Testimony was then presented by

the Government through Robert T. Ferguson, United States Probation Officer.

        The defendant was charged, in a Bill of Indictment filed February 28, 2005, with one (1)

count of conspiracy to manufacture and possess with intent to distribute methamphetamine. A



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hearing was held in regard to detention of the defendant on March 21, 2005. On that date, the

undersigned entered an order releasing the defendant on a $20,000.00 unsecured bond. The

undersigned further set conditions of release which included the following:

        (1)     That the defendant shall not commit any offense in violation of federal, state or local

                law while on release in this case.

        (7)(m) Refrain from use or unlawful possession of a narcotic drug or other controlled

                substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

                practitioner.

        On April 6, 2005, the defendant submitted to an urinalysis drug test at which time the

defendant admitted having used marijuana on the night that he was released on bond, that being

March 21, 2005. On May 4, 2005, the defendant submitted to an urinalysis drug test at which time

the defendant admitted having used marijuana on April 27, 2005. On May 18, 2005, the defendant

admitted to Officer Ferguson that he had used methamphetamine on May 16, 2005.

        Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer shall enter an

order of revocation and detention if, after a hearing, the judicial officer -----

        (1)     finds that there is----
                (A) probable cause to believe that the person has committed a
        Federal, State, or local crime while on release; or
                (B) clear and convincing evidence that the person has violated any
         other condition of release; and
        (2)     finds that ---
                (A) based on the factors set forth in section 3142(g) of this title, there
        is no condition or combination of conditions of release that will assure that the person will
        not flee or pose a danger to the safety of any other person or the community; or
                (B) the person is unlikely to abide by any condition or combination
        of conditions of release.




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       If there is probable cause to believe that, while on release, the person committed a
       Federal, State, or local felony, a rebuttable presumption arises that no condition
       or combination of conditions will assure that the person will not pose a danger to
       the safety of any other person or the community.”


       Based upon the evidence, the undersigned finds that there is probable cause to believe that

the defendant committed a federal and state crime while on release. The defendant possessed

marijuana on two occasions so that he could consume that substance. That possession violated both

federal and state law. The defendant also violated federal and state law when he consumed

methamphetamine. The consumption of methamphetamine is a misdemeanor under federal law.

21 U.S.C. § 844 and is a felony under state law, N.C.G.S. § 90-95(a)(3). Due to the fact that there

is probable cause to believe that the defendant committed a state felony, a rebuttable presumption

arises, pursuant to 18 U.S.C. § 3148, that no condition or combination of conditions would assure

that the defendant would not pose a danger to the safety of any other person or the community.

       There has further been shown by clear and convincing evidence that the defendant violated

other conditions of release in that it has been shown by clear and convincing evidence that the

defendant has violated the term and condition that states that he shall not commit any offense in

violation of federal, state or local law while on release in regard to this case. The possession and

consumption of marijuana and the possession and consumption of methamphetamine are violations

of federal and state law. The defendant further violated the terms and conditions of his pretrial

release in that he was ordered to refrain from use or unlawful possession of a narcotic drug unless

it was prescribed by a licensed medical practitioner. The defendant has clearly violated this

condition by possessing marijuana and methamphetamine which are drugs which are not prescribed

by licensed medical practitioners.


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       Due to the findings made above and further considering the presumption that has been

created and also considering the factors as set forth under 18 U.S.C. § 3142(g), it appears there is

no condition or combination of conditions of release that will assure that the defendant will not pose

a danger to the safety of any other person or the community. It is the opinion of the undersigned that

based upon the defendant’s actions, that it is unlikely that the defendant will abide by any condition

or combination of conditions of release. As a result of the above referenced findings, the

undersigned has determined to enter an order of revocation revoking the unsecured bond and the

terms of pretrial release previously issued in this matter and entering an order detaining the

defendant.

       IT IS THEREFORE ORDERED that the unsecured bond and the terms and conditions of

pretrial release entered in this matter are hereby REVOKED and it is Ordered that the defendant be

detained pending sentencing and further proceedings in this matter.




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                      Signed: June 3, 2005




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